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 6                                   UNITED STATES DISTRICT COURT

 7                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8                                             SAN JOSE DIVISION

 9
     UNITED STATES OF AMERICA,                                      Case No. 5:25-cv-00951-PCP
10
                              Plaintiff,                            [PROPOSED] ORDER GRANTING
11                                                                  NON-PARTY UBIQUITI INC.’S
     v.                                                             MOTION TO EXTEND TIME TO
12                                                                  FILE A MOTION TO SEAL
     HEWLETT PACKARD ENTERPRISE CO. and
13   JUNIPER NETWORKS, INC.,
                                                                    Hon. P. Casey Pitts
14                            Defendants.

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     [PROPOSED] ORDER GRANTING MOTION TO EXTEND TIME TO FILE MOTION TO SEAL          CASE NO. 5:25-CV-00951-PCP
      Case 5:25-cv-00951-PCP              Document 130          Filed 06/12/25   Page 2 of 2



 1           On June 11, 2025, non-Party Ubiquiti Inc. (“Ubiquiti”) filed a Motion to Extend Time to
 2    File a Motion to Seal. Having considered Ubiquiti’s Motion and the papers in support thereof,
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             IT IS HEREBY ORDERED THAT Ubiquiti’s Motion is GRANTED. Ubiquiti shall file
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     any motion to seal on or by June 23, 2025.
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 9   DATED: June 12, 2025
                                                                HONORABLE P. CASEY PITTS
10                                                              UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING MOTION TO EXTEND TIME TO FILE MOTION TO SEAL       CASE NO. 5:25-CV-00951-PCP
